                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


UNITED STATES OF AMERICA,                            CR. 20-50122-02-JLV

                   Plaintiff,

    vs.                                                     ORDER

KIMBERLEE PITAWANAKWAT,
a/k/a “Stormy,”

                   Defendant.


      On September 17, 2020, a grand jury charged defendant Kimberlee

Pitawanakwat with making false statements in violation of 18 U.S.C.

§ 1001(a)(2) and being an accessory after the fact in violation of 18 U.S.C. § 3.

(Docket 1). On May 8, 2023, Ms. Pitawanakwat filed an ex parte motion

seeking a status conference with the court. (Docket 214). On May 10, 2023,

the court denied Ms. Pitawanakwat’s ex parte motion. (Docket 215).

      On May 30, 2023, Ms. Pitawanakwat filed a motion addressed to this

court seeking to vacate the magistrate judge’s order setting an in-person

hearing for June 5, 2023, as moot or in the alternative to allow the defendant

to appear by video. (Docket 220). As the court stated in its last order:

      [T]he court concludes defendant’s motion does not justify the
      intervention of the district court over the functions of the magistrate
      judge in managing the appointment of counsel and the removal of
      and appointment of new counsel in a criminal case. Even if the
      court concluded it should exercise its supervisory authority, the
      court finds defendant’s ex parte motion does not warrant the district
      court’s intervention.
(Docket 215 at p. 2). Nothing in defendant’s motion to vacate the magistrate

judge’s order changes the court’s conclusion that the issues raised by the

defendant must be addressed and resolved by the magistrate judge. 1

      Defendant is reminded of the court’s notice and ruling of December 2020.

“[A] district court has no obligation to entertain pro se motions filed by a

represented party.” United States v. Pate, 754 F.3d 550, 553 (8th Cir. 2014)

(quoting Abdullah v. United States, 240 F.3d 683, 686 (8th Cir. 2001)). “The

court will only accept motions filed by counsel.” (Docket 32).

      No good cause appearing, it is

      ORDERED that defendant’s motion (Docket 220) is denied.

      Dated June 1, 2023.

                                BY THE COURT:
                                /s/   Jeffrey L. Viken
                                JEFFREY L. VIKEN
                                UNITED STATES DISTRICT JUDGE




      1The  court notes that United States Magistrate Judge Daneta Wollmann
filed an order of recusal (Docket 221) on May 31, 2023. Another United States
Magistrate Judge for the District of South Dakota will be assigned to preside
over the pretrial motion practice in this case.

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